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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION


UNITED STATES OF AMERICA,                )
                                         )
            Plaintiff,                   )
                                         )
      vs.                                )       Case No. 4:08CR405 CDP
                                         )
BRANDON EWING,                           )
                                         )
            Defendant.                   )

                                     ORDER

       IT IS HEREBY ORDERED that defendant Brandon Ewing’s motion to

vacate [#337] is granted and the change of plea hearing as to defendant Brandon

Ewing previously set for Monday, January 26, 2009 is VACATED.

       IT IS FURTHER ORDERED that this matter is set for a telephone

conference as to defendant Brandon Ewing only on Thursday January 29, 2009

at 3:00 p.m. The Court will initiate the telephone conference with counsel only.




                                             CATHERINE D. PERRY
                                             UNITED STATES DISTRICT JUDGE

Dated this 22nd day of January, 2009.
